            Case 1:21-cr-00216-JDB Document 20 Filed 07/09/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                               :
UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :      CRIM. NO. 21-CR-00216 (JDB)
                                               :
LEO BRENT BOZELL IV,                           :
                                               :
               Defendant.                      :
                                               :



      UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT



       David B. Deitch respectfully requests that the Court grant leave for Mr. Deitch to

withdraw as counsel for Defendant Leo Brent Bozell IV. In support of this unopposed motion,

Mr. Deitch states as follows:

       1.      Mr. Deitch has appeared as retained counsel for Defendant Leo Brent Bozell IV in

the above-captioned matter.

       2.      Recently, Mr. Bozell has decided to retain John Pierce to substitute for Mr. Deitch

as counsel in this matter. Mr. Pierce has filed a notice of his appearance in this matter.

       3.      For that reason, Mr. Deitch requests leave from the Court to withdraw his

appearance on behalf of the Defendant. Given Mr. Pierce’s appearance, Mr. Bozell will suffer no

prejudice or undue delay as a result of Mr. Deitch’s withdrawal.



       WHEREFORE, Mr. Deitch respectfully requests that the Court grant leave for Mr. Deitch

to withdraw as counsel.
          Case 1:21-cr-00216-JDB Document 20 Filed 07/09/21 Page 2 of 2




Dated: July 9, 2021                                   Respectfully submitted,



                                                      David B. Deitch (VSB No. 74818)
                                                      Berenzweig Leonard, LLP
                                                      8300 Greensboro Drive, Suite 1250
                                                      McLean, VA 22102
                                                      Tel. 703-940-3065
                                                      Fax 703-462-8674
                                                      Email ddeitch@berenzweiglaw.com

                                                      Attorney for Defendant Leo Brent Bozell IV



                                   CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2021, I electronically filed the foregoing pleading with the

Clerk of the Court using the CM/ECF system, which will send a notification of such filing to all

counsel of record. I further certify that a copy of this filing has also been transmitted by email

directly to Leo Brent Bozell IV.


                                                      David B. Deitch
